                                                                                                                                                       E-FILED
                                                                                                                  Monday, 19 May, 2008 10:43:51 AM
~AO   245B    (Rev. 12/03) Judgment in a Criminal Case
                                                                                                                      Clerk, U.S. District Court, ILCD
              Sheet I



                                          UNITED STATES DISTRICT COURT
                         Central                                       District of                                      Illinois
          UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CAS
                              V.
                  JABARI A. VEALS                                                Case Number: 07-20025-001
                                                                                                                                              I
                                                                                 USM Number: 14722-026

                                                                                 J. Steven Beckett and Carol Dison
                                                                                 Defendant's Attorney
THE DEFENDANT:
o pleaded guilty to count(s)
o pleaded nolo contendere to count(s)
   which was accepted by the court.
~ was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                  Nature of Offense                                                        Offense Ended
21 U.S.C. § 841(a)(1) and (b)(1)(A)               Possession of 50 or More Grams of Cocaine Base (Crack)             1/9/2007
                                                  With Intent to Oistribute




       The defendant is sentenced as provided in pages 2 through                  _ _5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                         Dis                  o     are dismissed on the motion ofthe United States.
                ------------
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIc circumstances.

                                                                                 5/15/2008
                                                                                 Date of Imposition of Judgment


                                                                                  s/Michael P. McCuskey



                                                                                  MICHAEL P. McCUSKEY                           Chief U.S. District Judge
                                                                                 Name and Title of Judge




                                                                                 Date
                                                                                            5/lb/"g
AO 245B       (Rev. 12/03) Judgment in Criminal Case
              Sheet 2    Imprisonment

                                                                                                              Judgment -   Page   _-=2=--_   of   5
DEFENDANT: JABARI A. VEALS
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                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 Life Imprisonment.




   ~      The court makes the following recommendations to the Bureau of Prisons:

 1. Due to extensive family ties, the Court recommends to the BOP that the defendant be housed in the Midwest for visitation.

 2. The Court finds the defendant is an addict and, therefore, recommends to the BOP that the defendant receive intensive and comprehensive drug and
 alcohol rehabilitation while in the BOP.


   ~      The defendant is remanded to the custody of the United States Marshal.

   o      The defendant shall surrender to the United States Marshal for this district:

          o     at
                       ---------- o                      a.m.      o    p.m.      on

          o      as notified by the United States Marshal.

   o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o      before      p.m. on

          o      as notified by the United States Marshal.

          o      as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                                to

 a"--                                                  , with a certified copy of this judgment.



                                                                                                           UNITED STATES MARSHAL


                                                                                By
                                                                                                       DEPUTY UNITED STATES MARSHAL
AO 245B       (Rev. 12/03) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                            Judgment-Page       3     of         5
DEFENDANT: JABARI A. VEALS
CASE NUMBER: 07-20025-001
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

   N/A




      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau ofPnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)! unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and two periodic drug tests
 thereafter, as determined by the court.
 o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
 o        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 I\lf     The defendant shall cooperate in the collection of DNA as directed by the probation officer or by the BOP (Check, if applicable.)

 o        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)

 o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments slieet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from Dxcessive      nany use of alcohol and shall not purchase, possess, use, distribute, or administer
            any controlled substance or any paraphernalia're1ated to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)       as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
            record or £ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
AO 245B    (Rev. 12/03) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                                  Judgment -        Page   _....;4,--_   of   5
DEFENDANT: JABARI A. VEALS
CASE NUMBER: 07-20025-001
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                               Fine                                            Restitution
TOTALS             $ 100.00                                                 $ 0.00                                          $ 0.00



o    The determination of restitution is deferred until
                                                             --- . An            Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 o   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664U), all nonfederal victims must be paid
     before the United States is paId.

 Name of Payee                                                                  Total Loss*           Restitution Ordered                   Priority or Percentage




                                                0.00                                 $:....-                 ...:0:.;.;.0:.,:0:-.
 TOTALS                               $
                                          --------
 o    Restitution amount ordered pursuant to plea agreement $                                            _

 o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

 o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      o    the interest requirement is waived for the            0       fine   0    restitution.

      o    the interest requirement for the           0   fine       0     restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
 Septemoer 13, 1994, but before April 23, 1996.
AO 2458    (Rev. 12/03) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                         Judgment -   Page _ ....5<-- of     5
DEFENDANT: JABARI A. VEALS
CASE NUMBER: 07-20025-001

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     [Iii( Lumpsumpaymentof$              100.00
                                         -------
                                                             due immediately, balance due

           o     not later than                                  , or
           o     in accordance           o     C,     0 D,   0     E, or     0 F below; or
B     0    Payment to begin immediately (may be combined with              0 C,      0 D, or      0 F below); or
C     0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     0    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 o    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 o    The defendant shall pay the cost of prosecution.

 o    The defendant shall pay the following court cost(s):

 o    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (n assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
